UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

                                                                        18-CR-834-04 (PAE)
                        -v-
                                                                               ORDER
 DANIEL HERNANDEZ,

                                        Defendant.


PAUL A. ENGELMAYER, District Judge:

       The Court has received and reviewed the Government’s sentencing letter as to defendant

Daniel Hernandez, whose sentencing is scheduled for December 18, 2019. The Court has also

reviewed the publicly filed version of that letter, which contains discrete redactions, and a brief

letter from the Government, dated December 4, 2019, explaining the basis for the

redactions. The Court approves the proposed redactions as warranted and appropriate for the

reasons stated, and as narrowly tailored. The Court directs the Government to file under seal

both the unredacted version of its sentencing letter and its letter explaining the need for the

redactions.


       SO ORDERED.


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                                                            PAUL A. ENGELMAYER
                                                            United States District Judge
Dated: December 5, 2019
       New York, New York
